Case 2:16-cr-20810-GCS-EAS ECF No. 24 filed 02/27/17         PageID.173     Page 1 of 5



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA                      Case No. 16-cr-20810

 v.                                            Honorable George Caram Steeh

 TAKATA CORPORATION,                           VIOLATION: 18 U.S.C. § 1343

                          Defendant.
                                           /

                             RESTITUTION ORDER
      THIS COURT, upon consideration of the following:

      1.     Takata Corporation (“Takata” or “the defendant”) has pleaded guilty

and agreed that it will owe restitution at sentencing;

      2.     The defendant has agreed to pay restitution pursuant to 18 U.S.C.

§ 3663A, and restitution must be imposed for the full amount of the victims’ losses

under 18 U.S.C. § 3664(f)(1)(A);

      3.     The defendant has agreed to pay additional restitution in accordance

with the Plea Agreement, 18 U.S.C. §§ 3663(a)(3), 3663A(a)(3); and

      4.     The defendant does not presently have the ability to pay the full

amount of restitution, but will be able to do so upon its sale to a third-party buyer;

      DOES HEREBY ORDER that:
Case 2:16-cr-20810-GCS-EAS ECF No. 24 filed 02/27/17        PageID.174    Page 2 of 5



        1.   The defendant shall pay restitution pursuant to 18 U.S.C.

§§ 3663A(a)(1) and 3664(f)(1)(A) in the amount of $481,848,850 to the victims of

the defendant’s fraud scheme, to wit, those auto manufacturers who were

defrauded in connection with their purchase of Takata airbag systems utilizing

non-compliant ammonium nitrate-based inflators (“the victim auto manufacturers”)

based on the provision of materially false, fraudulent, and misleading documents,

data, and information, or a failure to provide material information. The defendant

also shall pay additional restitution pursuant to the Plea Agreement and 18 U.S.C.

§ 3663(a)(3) in the amount of $368,151,150 to all auto manufacturers that

purchased airbags with phase-stabilized ammonium nitrate inflators from Takata or

any of its subsidiaries, regardless of location. The total amount of restitution that

shall be paid by the defendant to the auto manufacturers is $850,000,000.

        2.   The restitution of $850,000,000 allocated for the auto manufacturers

shall be paid by the defendant within five days after the closing of the currently

anticipated sale, merger, acquisition, or combination involving a transfer of control

of the defendant, which must occur within 365 days after entry of the plea in this

case.

        3.   The defendant shall pay additional restitution pursuant to the Plea

Agreement and 18 U.S.C. §§ 3663(a)(3) and 3663A(a)(3) in the amount of

$125,000,000 to additional individuals who suffered (or will suffer) personal injury



                                         2
Case 2:16-cr-20810-GCS-EAS ECF No. 24 filed 02/27/17         PageID.175    Page 3 of 5



caused by the malfunction of a Takata airbag inflator, and who have not already

resolved their claims against the defendant.

      4.     The restitution of $125,000,000 allocated for the aforementioned

individuals shall be paid by the defendant within thirty days of entry of the plea in

this case. Upon the later of (a) five years after entry of the plea in this case (the

time currently estimated by the defendant for the recall of its defective products to

be completed), or (b) the date upon which such recall is complete, any funds

remaining of the $125,000,000 in restitution monies provided for in this paragraph

shall be paid to the United States. However, upon reaching either date, the Special

Master may request a reasonable extension in light of unresolved or anticipated

claims, as circumstances warrant.

      5.     Pursuant to 18 U.S.C. § 3664(d)(6), within thirty days of this order the

Court will appoint a Special Master to make findings of fact and recommendations

to this Court regarding: (a) the individuals and entities entitled to restitution; and

(b) the restitution amounts to which these individuals and entities are entitled.

      6.     The Special Master shall be empowered to establish, oversee, and

administer two separate restitution funds—one for the auto manufacturers (the

“OEM Restitution Fund”) and one for the individuals who suffered (or will suffer)

personal injury caused by the malfunction of a Takata airbag inflator (the

“Individual Restitution Fund”).



                                          3
Case 2:16-cr-20810-GCS-EAS ECF No. 24 filed 02/27/17       PageID.176    Page 4 of 5



      7.    In connection with the creation and administration of the OEM

Restitution Fund and the Individual Restitution Fund, the Special Master shall:

            i.     Develop a formula or formulas whereby the funds will be fairly
                   and equitably distributed to all eligible claimants, both present
                   and future, taking into consideration the type and amount of
                   each claimant’s loss and accounting for relevant differences in
                   the harm each claimant suffered;

            ii.    Recommend to the Court the distribution of funds from the
                   Individual Restitution Fund to those claimants who have not
                   previously resolved their claims against the defendant;

            iii.   Implement appropriate procedures necessary to carry out the
                   foregoing duties within 90 days of the date of this Order; and

            iv.    Report to this Court every 60 days on the status of the Special
                   Master’s work to date, anticipated future efforts, and any
                   matters the Special Master believes require this Court’s
                   attention.

      8.    The defendant shall promptly provide to the Special Master all

documentary materials and testimonial information reasonably requested by the

Special Master.

      9.    All costs, fees, and expenses related to the Special Master’s

administration of the restitution funds or otherwise incurred in carrying out his

duties under this Order shall be negotiated between the defendant and the Special

Master, and submitted to the Court for approval. The defendant shall pay in full

these costs, fees, and expenses separate and apart from the restitution funds,

without diminishing the monies available to claimants.




                                         4
Case 2:16-cr-20810-GCS-EAS ECF No. 24 filed 02/27/17        PageID.177    Page 5 of 5



      10.    This Order is subject to amendment by the Court sua sponte or upon

application of the parties or the Special Master. This Court retains jurisdiction over

all matters covered by, or related to, this Order.



SO ORDERED.

Date: February 27, 2017

                                        s/George Caram Steeh
                                        HONORABLE GEORGE CARAM STEEH
                                        United States District Judge




                                           5
